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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

 WELLS FARGO BANK, N.A., NOT IN ITS
 INDIVIDUAL CAPACITY, BUT SOLELY IN
 ITS CAPACITY AS TRUSTEE FOR THE
 BENEFIT OF HOLDERS OF J.P. MORGAN
 CHASE COMMERCIAL MORTGAGE
 SECURITIES TRUST 2018-PHH,
 COMMERCIAL MORTGAGE PASS-
 THROUGH CERTIFICATES, SERIES 2018-
 PHH, acting by and through Situs Holdings,             CIVIL ACTION NO. 1:24-cv5665
 LLC, as special servicer under the Trust and
 Servicing Agreement, dated August 7, 2018,

                        Plaintiff,

         v.

 JPMORGAN CHASE BANK, NATIONAL
 ASSOCIATION, an Ohio national bank
 association,

                        Defendant.

                    COMPLAINT FOR DECLARATORY JUDGMENT
                          AND BREACH OF CONTRACT

       Plaintiff Wells Fargo Bank, N.A., not in its individual capacity, but solely in its capacity

as Trustee (the “Trustee”) for the Benefit of Holders of J.P. Morgan Chase Commercial Mortgage

Securities Trust 2018-PHH, Commercial Mortgage Pass-Through Certificates, Series 2018-PHH

(“Trust”), acting by and through Situs Holdings, LLC, as special servicer under the Trust and

Servicing Agreement, with an effective date of August 7, 2018, states its complaint as follows:

                                      INTRODUCTION

The Loan Agreement, the Collateral and the Assignment to Trustee

       1.      Trustee’s claims arise out of an approximately $333 million loan (the “Loan”) made

by defendant JPMorgan Chase Bank, National Association (“JPMCB”) to non-party Thor Palmer
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Hotel & Shops LLC (the “Borrower”).1 The Loan’s terms are set forth in a June 8, 2018, Loan

Agreement (the “Loan Agreement”) and related documents (the “Loan Documents”), which

contain representations made by Borrower to JPMCB. A true and correct copy of the Loan

Agreement is attached hereto as Exhibit 1.

       2.      The collateral securing Borrower’s obligations under the Loan consists primarily

of the Hilton Palmer House Hotel in Chicago (Cook County), Illinois (the “Hotel”), including

Borrower’s rights of record in perpetuity to access space (meeting rooms, utility areas, employee

cafeteria and restrooms) in an adjacent parcel. The spaces in and access to the adjacent parcel are

necessary for the Hotel’s operation.

       3.      The Loan was later sold by way of an August 7, 2018, Mortgage Loan Purchase

Agreement (the “MLPA”), in which JPMCB made numerous representations to the Loan purchaser

regarding the Borrower’s representations in the Loan Agreement and the absence of any known

events of default existing thereunder. The purchaser assigned and deposited the Loan and related

agreements, including the Loan Agreement, into the Trust, pursuant to the Trust and Servicing

Agreement (“TSA”), dated August 7, 2018, to be administered and serviced by Trustee and its

agents for the benefit of the Trust’s beneficial interest holders. The MLPA and TSA are attached

hereto as Exhibits 2 and 3.

Borrower Defaults, and Trustee Acts to Enforce the Loan Agreement.

       4.      In April 2020, Borrower defaulted on its obligations under the Loan Agreement by

failing to pay debt service when due, and further defaulted in June 2020 by failing to pay the Loan

at maturity. Trustee then acted to enforce the Loan Agreement and secure its rights in the Hotel


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       The capitalized terms in this paragraph and throughout the Introduction are further defined
below in the “Facts Common to All Counts” section of the Complaint. For the convenience of the
Court, Attachment A is a list of the capitalized terms in the Complaint.


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and other property securing the Loan.

Borrower Defaults, and Trustee Acts to Enforce the Loan Agreement.

       5.      In April 2020, Borrower defaulted on its obligations under the Loan Agreement by

failing to pay debt service when due, and further defaulted in June 2020 by failing to pay the Loan

at maturity. Trustee then acted to enforce the Loan Agreement and secure its rights in the Hotel

and other property securing the Loan.

       6.      Trustee filed lawsuits to enforce its rights under the Loan Agreement and secure

the collateral that are pending and have been consolidated in Cook County, Illinois between

Trustee, on the one hand, and Borrower and its affiliates on the other hand (the “Cook County

Litigation”). As discussed below, if, in the Cook County Litigation, the court interprets various

agreements related to the Loan and governing the operation of the Hotel consistent with the

arguments advanced by Borrower and its affiliates, then there were breaches of the representations

and warranties in the MLPA.

The Underlying Agreements Amongst Borrower and Its Affiliates

       7.      The Cook County Litigation arises out of Borrower’s loan default and Borrower’s

2005 decision to subdivide the larger Palmer House Hotel complex into three separate parcels,

according to the operations conducted on each respective parcel. Borrower assigned ownership of

two of these parcels to affiliates. Following Borrower’s subdivision, the larger Hotel complex

consisted of the following parcels, all owned by Borrower and its affiliates – (i) a Hotel parcel

owned by Borrower and operated by Borrower’s affiliate, Thor Palmer House Hotel, LLC (“Thor

Hotel”); (ii) a parcel of retail shops owned by Borrower’s/Guarantor’s affiliate, Thor Palmer House

Retail Shops, LLC (“Thor Retail”); and (iii) an office/annex building (the “Annex”) owned by

Borrower’s affiliate, Thor Palmer House Office, LLC (“Thor Office”).



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       8.      The Hotel does not, and cannot, effectively operate without full operational access

to the Annex. Similarly, the Annex does not, and cannot, effectively operate separately from the

Hotel. To address these issues following Borrower’s subdivision of the Palmer House Hotel

complex, Borrower and its affiliates Thor Retail and Thor Office executed and recorded a

Reciprocal Easement and Operating Agreement dated December 11, 2006 (the “REA”) that,

among other things, grants the Hotel owner use and access rights in perpetuity to space in the

Annex necessary and materially critical to the Hotel’s operations, and grants the Annex owner use

and access rights in perpetuity to space in the Hotel and retail shops.

       9.      Also in December 2006, Borrower’s affiliates Thor Office and Thor Hotel entered

into the first of several license agreements requiring Thor Hotel to pay Thor Office for the Hotel’s

access to and use of the Annex that is provided for in the REA. The license agreement at issue in

this dispute is the December 11, 2009, Temporary License Agreement (the “Temporary License

Agreement”), which was amended and extended by Borrower’s affiliates three times through

August 20, 2018.

       10.     JPMCB knew about and understood the importance of the REA and the risk to

Hotel’s operations if Thor Office denied the Hotel access to the space in the Annex. The issue as

to the scope and meaning of the Temporary License Agreement was discussed during negotiation

of the Loan Agreement, and the Loan Agreement references both the REA and the Temporary

License Agreement.

Borrower’s and its Affiliates’ Arguments in the Cook County Litigation

       11.     Thor Office has asserted a counterclaim and Borrower, Thor Office and other

affiliates have defenses in the Cook County Litigation that allege the Temporary License

Agreement expired, and that Trustee therefore has no use or access rights to the space in the Annex



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necessary for the Hotel operations. This position if accepted in that action and adjudicated to be

the correct interpretation of the relevant documents, would materially and adversely affect Hotel’s

operations.

        12.    Trustee has suffered damages and continues to suffer damages as a result of these

actions by Borrower and its affiliates, which constitute an injury in fact. Trustee has incurred, and

continues to incur, substantial legal fees in connection with defending the Cook County Litigation

and challenging the arguments raised by Borrower’s affiliates. These arguments have raised

uncertainty as to the Trustee’s ability to operate the Hotel, and the value of the Hotel in any sale

following foreclosure. JPMCB has agreed to indemnify the Trust for the damages caused by its

breaches of the MLPA, as described below.

Borrower’s and JPMCB’s Respective Breaches of the Loan Agreement and MLPA

        13.    Trustee is defending the claims asserted in the Cook County Litigation, and such

efforts benefit both the assignee of the Loan Agreement and JPMCB, which made representations

in the MLPA regarding the Loan Agreement. If the Court in the Cook County Litigation

determines, however, that Borrower and its affiliates are correct regarding the scope and effect of

the Temporary License Agreement, then Borrower necessarily breached its representations and

warranties to JPMCB in the Loan Agreement. In such event, then JPMCB in turn necessarily

breached the MLPA, which incorporated Borrower’s representations in the Loan Agreement.

        14.    Trustee brings this action to preserve and prosecute claims against JPMCB for

breaches of representations and warranties in the MLPA in the event Trustee’s defenses in the

Cook County Litigation are unsuccessful, and the Court determines the scope and effect of the

Temporary License Agreement are consistent with the arguments made by Borrower and its

affiliates.



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                         PARTIES, JURISDICTION, AND VENUE

       15.     Plaintiff Trustee is a national banking association with its designated main office

located in Sioux Falls, South Dakota. As a national bank, Trustee is a citizen of South Dakota.

Trustee acts as the trustee for the beneficiaries of the commercial mortgage-backed security trust

(the “Trust”) known as the J.P. Morgan Chase Commercial Mortgage Securities Trust 2018-PHH,

Commercial Mortgage Pass-Through Certificates, Series 2018-PHH.

       16.     Non-party Situs Holdings, LLC is the special servicer for Trustee (the “Special

Servicer” or “Situs”), and the Trustee acts by and through the Special Servicer pursuant to the

TSA. As such, Situs services and manages the Loan and enforces the terms of the Loan

Documents.

       17.     JPMCB is a national banking association with its designated main office located in

Columbus, Ohio. As a national bank, JPMCB is a citizen of Ohio. In Section 13 of the MLPA,

JPMCB “consent[ed] to service of process upon it by mailing a copy thereof by certified mail

addressed to it as provided for notices [in the MLPA].”

       18.     Borrower, a non-party to this proceeding, is a co-mortgagor of the Hotel, and the

obligor under the Loan Agreement that has been assigned to Trustee by operation of the TSA.

Borrower is a party to the REA but is not a party to the Temporary License Agreement.

       19.     Non-party Thor Office is the Borrower’s affiliate that owns the Annex. Thor Office

is a party to the REA and the Temporary License Agreement.

       20.     Non-party Thor Retail is the Borrower’s affiliate that owns the retail shops. Thor

Retail is a party to the REA but is not a party to the Temporary License Agreement.

       21.     Non-party Thor Hotel is a co-mortgagor of the Hotel and the Borrower’s affiliate

that is the Operating Lessee of the Hotel. Thor Hotel is a party to the Temporary License

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Agreement but is not a party to the REA.

         22.   Jurisdiction is proper under 28 U.S.C. § 1332(a)(1) because the parties are citizens

of different states and the amount in controversy exceeds $75,000.00 exclusive of interest and

costs.

         23.   Venue is proper in this Court pursuant to Section 13 of MLPA and 28 U.S.C.

§ 1391(c) & (d).

                            FACTS COMMON TO ALL COUNTS

A.       The Hotel and Related Parcels

         24.   The address of the Hotel is 17 East Monroe Street in Chicago, Illinois. The Hotel

features 1,641 guestrooms, more than 130,000 feet of meeting space, seven ballrooms and

restaurants. The Hotel’s facilities and amenities are located on 21 floors of a building, which also

contains retail shops located on multiple floors.

         25.   The Annex is a separate building attached to the Hotel. The Annex contains critical

mechanical systems for providing the Hotel with air conditioning, telephone, and internet services.

The Annex also contains the Hotel’s employee cafeteria, meeting rooms and storage space, and

the Hotel’s lobby-area restrooms located adjacent to the Hotel’s front desk.

         26.   Borrower purchased the real property comprising the larger hotel, retail, and office

complex in August 2005. At that time, the Hotel, Annex, and retail shops were part of a single

legal parcel, sharing the Palmer House parcel legal description and street address.

         27.   In December 2006, Borrower split ownership of this larger complex of the Hotel,

Annex, and retail shops among three affiliated entities, with (i) Borrower retaining ownership of

the real estate improved with the Hotel, with its affiliate Thor Hotel serving as the Operating

Lessee of the Hotel, (ii) Thor Office acquiring the Annex, and (iii) Thor Retail acquiring retail



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shops located within the Hotel. The Real Property Transfer Tax Declaration attached to the vesting

deeds granted to Thor Office and Thor Retail states that “no consideration” was given for

Borrower’s transfers because each was a “transfer to a related entity.”

B.      The REA and Temporary License Agreement

        28.      Following Borrower’s separation of the ownership of these three parcels, the Hotel,

Annex, and retail shops continued operating just as before the parcels were broken out into these

three parcels. Each entity continued to access and use space located in the parcels of its affiliated

entities.

        29.      Borrower and its affiliates recognized that the Hotel and retail shops could not be

operated separately from the Annex, and the Annex could not be operated separately from the

Hotel and retail shops. Accordingly, Borrower, Thor Office and Thor Retail executed and recorded

the REA in December 2006. True and correct copies of the REA dated December 11, 2006, and

its amendment, are attached hereto as Exhibit 4.

        30.      The REA provides continued access and usage rights amongst the parcels that run

with the land in perpetuity for the benefit of future owners. This was critical for the Borrower and

the Hotel, which could not be operated without access to the mechanical components and use of

other facilities in the Annex.

        31.      In December 2006, Thor Office and Thor Hotel entered into the first of a series of

license agreements and amendments thereto. The operative license agreement is the December

11, 2009, Temporary License Agreement, which purports to grant rights to the Hotel’s owner no

greater than those rights granted in the REA. The Temporary License Agreement provides a

stream of income to Thor Office, as the owner of the Annex, by requiring the Hotel to pay a

monthly fee for ongoing use of the Annex. The term of the last amendment to the Temporary



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License Agreement expired on August 9, 2018. A true and correct copy of the original 2006

license is attached hereto as Exhibit 5. True and correct copies of the December 11, 2009,

Temporary License Agreement, and subsequent amendments are attached hereto as Exhibit 5.

       32.     Neither the original license agreement, the Temporary License Agreement, nor any

amendments thereof, have been recorded in any governmental official records. Borrower and Thor

Office did not enter into any written license agreement for any period after August 9, 2018.

       33.     The REA is a 203-page publicly-recorded document. The Temporary License

Agreement is a 5-page unrecorded document not otherwise publicly available.

       34.     The Hotel would not have been financeable through a commercial lender if, as

Borrower and its affiliates now allege in the Cook County Litigation, the Temporary License

Agreement is the sole grant of use and access rights to space in the Annex necessary for the Hotel’s

operations because such rights are not addressed in the REA. As discussed below, this allegation

was not made by until 2022, when Trustee moved for summary judgment in the Cook County

Litigation and obtain a dismissal of all of Borrower’s affirmative defenses.

C.     The Loan

       35.     On June 8, 2018, JPMCB and Borrower entered into the Loan Agreement.

Borrower also executed a Promissory Note dated June 8, 2018, in the original principal amount of

$333,200,000 (the “Note”). A true and correct copy of the Note is attached hereto as Exhibit 6.

       36.     To secure the Borrower’s obligations under the terms of the Loan, Borrower and

Thor Hotel, as co-mortgagors, granted to JPMCB, as the original mortgagee, and to its successors

and assigns, senior perfected security interests in the Hotel and all other property owned by the co-

mortgagors or in which the co-mortgagors had an interest, including, but not limited to, all

easements (including the rights provided under the REA), all rights pursuant to a lease between



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Hilton and Borrower, and additional rights, evidenced by, among other things, a Mortgage,

Assignment of Leases and Rents, Security Agreement and Fixture Filing dated June 8, 2018 and

recorded in the Official Records on June 12, 2018 as Document No. 1816317208. A true and

correct copy of the Mortgage, Assignment of Leases and Rents, Security Agreement and Fixture

Filing dated June 8, 2018, is attached hereto as Exhibit 7.

       37.     The Loan Agreement, the Note, the Mortgage, the Guaranty (a related agreement

also dated June 8, 2018), and all other documents evidencing, securing, or relating to the Loan

have been endorsed or assigned to Trustee.

       38.     Borrower made representations and warranties in the Loan Agreement that the

Hotel had the ability to operate in the manner it was operating. Inherent in that representation and

warranty is the Hotel’s unencumbered access and use of the Annex and its facilities.

       39.     Trustee is informed and believes that the Temporary License Agreement was an

accommodation that allowed Borrower’s affiliates, Thor Office and Thor Hotel, to transfer funds

and share expenses resulting from Hotel’s operations and had no bearing on Hotel’s right to access

and use space in the Annex.

       40.     JPMCB knew about the Temporary License Agreement when it originated the Loan

and, on information and belief, discussed and considered the Temporary License Agreement

during negotiation of the Loan Agreement.

       41.     Trustee is defending the Cook County Litigation based on its information and belief

as stated above.

D.     The Cook County Litigation

       42.     Borrower defaulted on the Loan in April 2020 by failing to pay debt service when

due, and further defaulted in June 2020 by failing to pay the Loan at maturity.



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       43.     In response to Borrower’s default, Trustee filed a foreclosure action on August 20,

2020 styled as Wells Fargo Bank, N.A., as Trustee for the benefit of holders of J.P. Morgan Chase

Commercial Mortgage Securities Trust 2018-PHH, Commercial Mortgage Pass-Through

Certificates, Series 2018-PHH v. Thor Palmer House Hotel & Shops LLC, a Delaware limited

liability company, et al., Case No. 2020 CH 05460 (Circuit Court of Cook County, Illinois,

Chancery Division) (the “Foreclosure Action”).

       44.     On August 24, 2020, Trustee filed a motion to appoint a receiver for the oversight

of the Hotel and related mortgaged property. Trustee’s motion was granted on October 21, 2020,

and remains in effect.

       45.     On February 17, 2022, Trustee filed a motion for summary judgment in the

Foreclosure Action, which was granted by an order dated July 6, 2022. A judgment was entered

on August 16, 2022.

       46.     On May 16, 2022, during briefing on Trustee’s motion for summary judgment, Thor

Office asserted a claim in the amount of $864,574.10 for purported past-due amounts owed to Thor

Office under the Temporary License Agreement.

       47.     On June 14, 2023, Thor Office issued notice to Thor Hotel that Thor Office was

terminating the Temporary License Agreement, copying Trustee’s counsel. Thor Office demanded

$897,826.95 for outstanding fees purportedly due under the Temporary License Agreement and

stated that unless Trustee paid this amount, Trustee would be required to vacate the Annex and

return that space to Thor Office. A true and correct copy of Thor Office’s termination notice is

attached as Exhibit 8. Trustee disputes that any amounts are owed to Thor Office under the

Temporary License Agreement.

       48.     In response to the disputes over the scope of the REA and Temporary License



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Agreement, on July 11, 2023, Trustee has filed a second lawsuit in Cook County, Illinois styled as

Wells Fargo Bank, N.A., as Trustee for the Benefit of Holders of J.P. Morgan Chase Commercial

Mortgage Securities Trust 2018-PHH, Commercial Mortgage Pass-Through Certificates, Series

2018-PHH, and Chad Crandell, solely in his capacity as court-appointed receiver in Case No.

2020CH05460 v. Thor Palmer House Office, LLC, a Delaware limited liability company; Thor

Palmer House Hotel & Shops LLC, a Delaware limited liability company; and Thor Palmer House

Hotel LLC, a Delaware limited liability company, Civil Action No. 2023 CH 06380 (Circuit Court

of Cook County, Illinois, Chancery Division) (the “Access Action”).

       49.     The Access Action seeks a declaration that the scope of the REA is sufficiently

broad to provide the Hotel with its historic and necessary access and use rights to space in the

Annex. The Annex space is critical to the Hotel’s routine operations as it was before Borrower

assigned ownership in the Annex to its affiliate Thor Office because, among other reasons, the

Hotel lobby’s restrooms and utility rooms are located in the Annex.

       50.     On October 17, 2023, Thor Office filed a counterclaim in the Access Action

asserting that the now-terminated Temporary License Agreement granted the sole and exclusive

rights to use and access the Annex space described therein. Thor Office seeks damages in the

Access Action for unpaid license fees and an order evicting the Hotel from the Annex.

       51.     In the Access Action, Trustee is asserting that the REA, not the Temporary License

Agreement, grants Hotel the right to use and access the Annex space as it existed when Borrower

divided the parcel and assigned ownership of the Annex to its affiliate Thor Office.

       52.     The Foreclosure Action and the Access Action were consolidated by order of the

Court in the Cook County Litigation on or about May 3, 2024.

       53.     As part of its claim in the Cook County Litigation, Trustee contends it is industry



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custom and practice for a commercial mortgage loan to be secured by property in which the

borrower/mortgagor has perpetual and sufficient use and access rights necessary for the

borrower/mortgagor to operate its property.

       54.      Borrower and its affiliate’s assertion in the Cook County Litigation that the

Temporary License Agreement grants the sole and exclusive rights to use and access the Annex

space, and that such rights are unique from those rights granted in the REA, are inconsistent with

the representations and warranties in the MLPA. Such contentions also conflict with industry

custom and practice because:

             a. Borrower, which owned the Hotel that required access to the Annex, is not a party

                to the Temporary License Agreement. Instead, Thor Hotel – the Operating Lessee

                of the Hotel – is a party to the Temporary License Agreement.

             b. The Temporary License Agreement is purportedly cancellable at any time (subject

                to a 30-day notice) by Thor Office, which cancellation would – again, according to

                Borrower’s/Guarantor’s affiliate Thor Office – terminate the use and access rights

                in the Annex necessary for operation of the Hotel.

             c. The Temporary License Agreement states that the rights granted to Borrower are

                not assignable, which would restrict the rights of a new owner, a foreclosing

                mortgagee, or a court-appointed receiver to operate the Hotel following Borrower’s

                default.

             d. The REA, on the other hand, grants use and access rights in perpetuity; if there were

                unique rights granted in the Temporary License Agreement necessary to operate

                the Hotel, industry custom and practice dictate that such rights would be addressed

                in the REA.



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             e. The term of the Temporary License Agreement was significantly shorter than the

                Loan’s term and would require renewal; the Temporary License Agreement did not

                include limitations or protections to Borrower, as the Hotel owner, against fee

                increases in future renewals, or that the Temporary License Agreement would be

                renewed.

             f. The Temporary License Agreement does not state that it is the sole and exclusive

                agreement granting the Hotel access and use rights to the Annex space.

       55.      Trustee is asserting arguments in the Cook County Litigation consistent with its

understanding of the representations and warranties made in the MLPA by JPMCB, the express

terms of the REA and Temporary License Agreement, and industry practice.

       56.      Trustee is defending against the arguments leveled by Borrower and its affiliates in

the Cook County Litigation and, as of the date of filing this pleading, has incurred legal expenses

in defending the counterclaim and addressing the Temporary License Agreement arguments

asserted by Borrower and its affiliates in the Cook County Litigation. These expenses continue to

accrue and increase during the pendency of the Cook County Litigation. Trustee further cannot

quantify the precise amount or types of other damages that it will incur if it loses any access or use

rights to the Annex, and Trustee is subject to significant uncertainty regarding its ability to operate

the Hotel after its rightful foreclosure. JPMCB is obligated to indemnify the Trust for the damages

to it that are caused by the Cook County Litigation, which are breaches of the MLPA.

E.     The MLPA Representations and Warranties

       57.      JPMCB was aware and had actual knowledge of the Temporary License Agreement

when Borrower and JPMCB entered into the Loan Agreement.                   The Temporary License

Agreement is referenced therein.



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       58.     If the court accepts the position advocated in the Cook County Litigation by

Borrower and its affiliates regarding the Temporary License Agreement, then JPMCB made

representations and warranties in the MLPA that were materially inaccurate and were breached.

       59.     In Section 7(c) of the MLPA, JPMCB provided representations and warranties as

of the August 7, 2018, Closing Date with respect to the Loan that are set forth in Exhibit A of the

MLPA. Ex. 2 at 9. Section 4 in Exhibit A to the MLPA includes JPMCB’s representation and

warranty that JPMCB has no knowledge of an “Event of Default” under the Loan Agreement. Ex.

2 at A-1.

       60.     The term “Event of Default” is defined under Section 8.1 of the Loan Agreement.

Events that constitute an “Event of Default” under Section 8.1(v) include:

               “[I]f any representation or warranty made by Borrower or Operating Lessee
               herein or in any other Loan Document, or in any report, certificate, financial
               statement or other instrument, agreement or document furnished to Lender
               shall have been false or misleading in any material respect as of the date
               the representation or warranty was made.”

Ex. 1 at 116 (Emphasis added).

       61.     Based on the above provisions of the MLPA and Loan Agreement, JPMCB

represented and warranted in the MLPA that it did not have knowledge of any breach of a

representation and warranty in the Loan Agreement.          In the event the Temporary License

Agreement has the meaning advocated by Borrower and its affiliates, however, JPMCB was

effectively aware of numerous breaches of the Loan Agreement’s representations and warranties.

The applicable Loan Agreement representations and warranties are described below.

       62.     By incorporating Loan Agreement Section 4.1.5 into the MLPA, JPMCB

represented and warranted it had no knowledge that contradicted Borrower’s representation and

warranty that Borrower or Thor Hotel was party to any agreement or instrument, or subject to any

restriction, which would be reasonably likely to affect Borrower materially and adversely, Thor

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Hotel, the Hotel property, or the business, properties or assets, operation or condition (financial or

otherwise) of Borrower or Thor Hotel. The interpretation, scope and effect of the Temporary

License Agreement and REA, as alleged by Borrower and its affiliates including Thor Hotel,

would result in an agreement and a restriction that materially and adversely affects the Hotel

property, Borrower and Thor Hotel, and their business, properties and assets, operations, and

condition, financial and otherwise.

       63.     By incorporating Loan Agreement Section 4.1.8 into the MLPA, JPMCB

represented and warranted it had no knowledge that contradicted Borrower’s representation and

warranty that the Loan Documents did not contain any untrue statement of material fact or omitted

any material fact necessary to make statements in the Loan Documents misleading.                 The

interpretation, scope, and effect of the Temporary License Agreement and REA, as alleged by

Borrower’s affiliates, would render such Loan Documents misleading.

       64.     By incorporating Loan Agreement Section 4.1.33 into the MLPA, JPMCB

represented and warranted it had no knowledge that contradicted Borrower’s representation that

the documents and information provided by Borrower were true, complete, and accurate in all

material respects. The interpretation, scope, and effect of the REA and Temporary License

Agreement, as alleged by Borrower and its affiliates, would render such documents materially

misleading.

       65.     By incorporating Loan Agreement Section 4.1.11 into the MLPA, JPMCB

represented and warranted it had no knowledge that contradicted Borrower’s representation and

warranty that either Borrower or Thor Hotel had any unusual forward or long-term commitments

that would have a material adverse effect on Borrower or Thor Hotel’s financial condition or the

value of the property. The interpretation, scope, and effect of the Temporary License Agreement,



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as alleged by Borrower’s affiliates including Thor Hotel, would constitute unusual forward or

long-term commitments that would have a material adverse effect on Borrower’s and/or Thor

Hotel’s financial condition, as well as the value of the property.

       66.     By incorporating Loan Agreement Section 4.1.22 into the MLPA, JPMCB

represented and warranted it had no knowledge that contradicted Borrower’s representation and

warranty that the Hotel had the necessary rights, permits, licenses, and certifications necessary to

continue operating as a hotel and that Thor Hotel would keep and maintain all licenses necessary

for the operation of the Hotel. The interpretation, scope, and effect of the Temporary License

Agreement and REA, as alleged by Borrower’s affiliates, would mean that the Hotel did not in fact

have such licenses and approvals.

       67.     By incorporating Loan Agreement Section 4.1.33 into the MLPA, JPMCB

represented and warranted it had no knowledge that contradicted Borrower’s representation and

warranty that all material facts had been disclosed, and there were no material facts that had not

been disclosed that could cause a representation or warranty to be materially misleading. The

interpretation, scope, and effect of the Temporary License Agreement and REA, as alleged by

Borrower’s affiliates, would render such documents materially misleading.

       68.     By incorporating Loan Agreement Section 4.2 into the MLPA and through

operation of the survival rights granted thereunder, Trustee could rely on all representations,

warranties, covenants, and agreements made in the Loan Agreement and the other Loan

Documents.

       69.     The Hotel cannot operate effectively without access to, and use of, the Annex space

described in the Temporary License Agreement.

       70.     The same allegations by Borrower and its affiliates in the Cook County Litigation,



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if determined to be the proper scope of the Temporary License Agreement and REA, also would

be a “Material Document Defect” as that term is defined in Sections 7(f) and 8(a) of the MLPA.

Under Section 8(a) of the MLPA, a Material Document Defect occurs, among other things, when

“any document required to be delivered [by the Seller] to the Purchaser pursuant to Section 3 [of

the MLPA] is defective” and “such Defect . . . materially and adversely affects the value of the

Mortgage Loan” or the interests now held by Trustee. Ex. 2 at 9-10.

       71.     Section 3 of the MLPA required JPMCB to deliver to Trustee, or cause to be

delivered to Trustee, the “Mortgage File” as defined in the TSA, which includes any “material

written agreements” related to the Loan such as the agreements, licenses and permits required to

operate the Hotel in the manner the Hotel had historically operated. Ex. 2 at 3-4. If Borrower’s

affiliates prevail in the Cook County Litigation, JPMCB failed to deliver agreements that grant

perpetual access and use rights in the Annex.

       72.     Under Section 8 of the MLPA, JPMCB is responsible for losses caused by Material

Document Defects. If the allegations leveled by Thor Office and Thor Hotel in the Cook County

Litigation are true and correct, there was a Material Document Defect because the Temporary

License Agreement was not extended and there was no right or ability by the Trust to enforce or

extend that right. A judgment in favor of Thor Office would mean that the Material Document

Defect had an adverse impact on the value of the Loan.

       73.     On information and belief, in the event the interpretation of the Temporary License

Agreement and REA as alleged in the Cook County Litigation is adjudicated to be correct, each of

these breaches of the representations and warranties was known to JPMCB at the time the MLPA

became effective in August 2018. Section 15 of the MLPA also provides that the “warranties and

representations and the agreements made by . . . [JPMCB] [in the MLPA] shall survive delivery



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of the Mortgage Loan to the Trustee until the termination of the T[SA].” Ex. 2 at 12. JPMCB has

an ongoing obligation to cure all Material Document Defects and honor the representations and

warranties at issue in this lawsuit.

         74.      Pursuant to Section 8 of the MLPA, JPMCB is obligated to “indemnify the Trust in

respect of the Mortgage Loan for the losses directly related to the Material Breach or Material

Document Defect” or JPMCB must repurchase the Loan. Ex 2 at 10.

F.       Trustee Provided Timely Notice to JPMCB

         75.      Section 8 of the MLPA provides that JPMCB is to receive notice of any breach and

a 90-day period to remedy the breach.

         76.      Trustee, acting through Special Servicer, provided such notice to JPMCB by letter

on January 24, 2024. A true and correct copy of the Notice letter is attached hereto as Exhibit 9.

         77.      JPMCB, through counsel, denied breaching the MLPA by letter dated February 13,

2024. A true and correct copy of JPMCB’s response letter is attached hereto as Exhibit 10.

         78.      All conditions precedent has occurred or been performed.

                                               COUNT I

                                        Breach of Contract
                                   (Material Breach of the MLPA)

         79.      Trustee incorporates paragraphs 1 through 78 as if fully set forth herein.

         80.      The MLPA is governed by New York law and constitutes a contract under New

York law.

         81.      Access to and use of the Annex space is critical to the effective operation of the

Hotel.

         82.      The MLPA contains representations and warranties, as described above that:

               a. JPMCB represented and warranted it had no knowledge that contradicted

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      Borrower’s representation and warranty that Borrower or Thor Hotel was party to

      an agreement or instrument, or subject to a restriction, which would be reasonably

      likely to affect the Hotel materially and adversely, or Borrower.

   b. JPMCB represented and warranted it had no knowledge that contradicted

      Borrower’s representation and warranty that there was no material financial

      obligation under any agreement or instrument to which either Borrower or Thor

      Hotel was a party, other than certain defined ordinary course obligations and

      obligations under the Loan Documents.

   c. JPMCB represented and warranted it had no knowledge that contradicted

      Borrower’s representation and warranty that there was no untrue or misleading

      statement of facts in the Loan Documents or material facts omitted from the Loan

      Documents, or that any of the Loan Documents were misleading in any material

      respect.

   d. JPMCB represented and warranted it had no knowledge that contradicted

      Borrower’s representation and warranty that there were no long-term commitments

      or other circumstances that would have materially and adversely affected

      Borrower’s or Thor Hotel’s financial condition, or the value of the Hotel property.

   e. JPMCB represented and warranted it had no knowledge that contradicted

      Borrower’s representation and warranty that the documents and information

      provided by Borrower were true, complete, and accurate in all material respects.

   f. JPMCB represented and warranted it had no knowledge that contradicted

      Borrower’s representation and warranty that Borrower and the Hotel had all

      licenses, permits and approvals necessary to operate the Hotel as it had been



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                historically operating.

             g. JPMCB represented and warranted it had no knowledge that contradicted

                Borrower’s representation and warranty that Borrower had disclosed all material

                facts related to the Loan and operation of the Hotel and it had not failed to disclose

                any material fact that could cause other information to be materially misleading.

       83.      Trustee had the right to rely on each representation and warranty in the Loan

Documents notwithstanding any investigation by Trustee.

       84.      JPMCB breached the foregoing representations and warranties by virtue of the

Cook County Litigation counterclaim alleging that the Temporary License Agreement created

unique and exclusive rights to access and use the Annex space.

       85.      As a result of the breach, Trustee has incurred damages for legal fees to defend the

counterclaim and to address defenses in the Cook County Litigation and continues to incur

damages defending the claim and addressing defenses. Such damages continue to accrue and

increase.

       86.      Further, if Borrower’s affiliates prevail in the Cook County Litigation, the Hotel

may lose its access to and use of the Annex space and would incur additional damages as a result.

In the interim, the position asserted by Borrower and its affiliates in the Cook County Litigation

has raised uncertainty as to the ability of Trustee to operate the Hotel, and the value of the Hotel

in any sale following foreclosure. Declaratory relief is needed to address that uncertainty here or

in the Cook County Litigation.

       87.      Such an outcome in the Cook County Litigation would breach representations and

warranties made by JPMCB in Section 7 of the MLPA. The breach of Section 7 of the MLPA is

also a Material Breach under Section 8 of the MLPA and entitles Trustee to pursue all remedies



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allowed under the MLPA and New York law.

         88.      The remedies for breaches of Section 7 and Section 8 of the MLPA require JPMCB

to indemnify the Trust for losses directly related to a Material Breach and include having JPMCB

repurchase the Loan from the Trust.

         WHEREFORE, Trustee respectfully requests that the Court, following any determination

in the Cook County Litigation consistent with the argument advanced by Borrower and its affiliates

and/or that Thor Office has prevailed on its counterclaim, enter judgment as follows:


               a. Declaring that JPMCB has committed a Material Breach of the MLPA.

               b. Declaring that JPMCB is obligated to indemnify the Trustee for the losses directly
                  related to the Material Breaches of the MLPA.

               c. Awarding actual damages to Trustee in an amount to be proved at trial, including
                  the cost; and expense of defending against the claims made in the Cook County
                  Litigation, and in this proceeding.

               d. Directing JPMCB to repurchase the Loan.

               e. Awarding such other and further relief as the Court deems necessary or
                  appropriate.


                                               COUNT II

                                        Breach of Contract
                                     (Material Document Defect)

         89.      Plaintiff incorporates paragraphs 1 through 88 as if fully set forth herein.

         90.      The MLPA is governed by New York law and constitutes a contract under New

York law.

         91.      Access to and use of the Annex space is critical to the effective operation of the

Hotel.




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       92.     Pursuant to Section 7(f) of the MLPA, JPMCB was required to provide the Trust

with “prompt notice of any Material Breach or Material Document Defect that materially and

adversely affects the value of the Mortgage Loan, the Property or the interests of Trustee or any

Certificate holder therein.”

       93.     Under Section 8(a) of the MLPA, a Material Document Defect occurs, among other

things, when “any document required to be delivered [by the Seller] to the Purchaser pursuant to

Section 3 [of the MLPA] is defective” and “such Defect . . . materially and adversely affects the

value of the Mortgage Loan or the interests of the Purchaser.”

       94.     Section 8(a) further provides that a “Defect” exists in any documents that are

“required in connection with (i) an imminent enforcement of the mortgagee’s rights or remedies

under the Mortgage Loan; (ii) defending any claim asserted by the Borrower or third party with

respect to the Mortgage Loan; [or] (iii) establishing the validity or priority of any lien on any

collateral securing the Mortgage Loan.” (Emphasis added).

       95.     JPMCB breached Sections 7(f) and 8(a) of the MLPA based on the counterclaim

and defenses asserted by Borrower and its affiliates alleging that the Temporary License

Agreement created unique and exclusive rights to access and use the Annex space, and that Thor

Office could terminate those rights at will and the REA does not create the required access and use

rights to the Annex.

       96.     Borrower’s affiliate raised the counterclaim that Trustee is defending in the Cook

County Litigation.

       97.     If Borrower and its affiliates succeed in their arguments in the Cook County

Litigation, including, but not limited to, Thor Office’s counterclaim, it constitutes a Material

Document Defect regarding the REA and the Temporary License Agreement under Sections 7(f)



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and 8(a) of the MLPA.

       98.        A Material Document Defect is a breach of the MLPA and entitles Trustee to pursue

all remedies allowed under the MLPA and New York law. The remedies for breaches of Section

7 and Section 8 of the MLPA require JPMCB to indemnify the Trust for losses directly related to

the Material Document Defect and include having JPMCB repurchase the Loan from the Trust.

       99.        As a result of this breach, Trustee has incurred damages for legal fees to defend the

counterclaim and to respond to the Temporary License Agreement issues in the Cook County

Litigation and continues to incur damages defending the claim and responding to these issues.

       100.       Further, if Borrower and its affiliates prevail in the Cook County Litigation, the

Hotel may lose its access to and use of the Annex space and would incur additional damages as a

result. In the interim, the position asserted by Borrower’s affiliates in the Cook County Litigation

has raised uncertainty as to the arguments of Borrower and its affiliates have raised uncertainty as

to the Trustee’s ability to operate the Hotel, and the value of the Hotel in any sale following

foreclosure.

       101.       The remedies for breaches of the MLPA include having JPMCB repurchase the

Loan from the Trust.

       WHEREFORE, Trustee respectfully requests that the Court, following any determination

in the Cook County Litigation consistent with the arguments advanced by Borrower and its

affiliates, and/or that Thor Office has prevailed on its counterclaim, enter judgment as follows:


             a. Declare that JPMCB breached its MLPA obligation to provide Loan Documents
                that did not have Material Document Defects.

             b. Declaring that JPMCB is obligated to indemnify the Trustee for the losses directly
                related to the Material Document Defects of the MLPA.

             c.    Award actual damages to Trustee in an amount to be proved at trial, including the
                  cost and expense of defending against the claims made in the Cook County
                  Litigation, and in this proceeding.

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           d. Direct JPMCB to repurchase the Loan.

           e. Enter a judgment directing JPMCB to repurchase the Loan.

           f. Award such other and further relief as the Court deems necessary or appropriate.

                                     PRAYER FOR RELIEF

        WHEREFORE, Trustee respectfully requests that the Court, following any determination

in the Cook County Litigation consistent with the arguments advanced by Borrower and its

affiliates, and/or that Thor Office has prevailed on its counterclaim, enter judgment in favor of the

Trustee as follows:

   a. Declaring that JPMCB has breached the representations and warranties in the MLPA.

   b. Declaring that JPMCB breached its Material Documents Defect obligations under the

        MLPA.

   c. Declaring that JPMCB is obligated to indemnify the Trustee for the losses directly related

        to the Material Breaches and Material Document Defects of the MLPA.

   d. Awarding damages to Trustee for breaches of the MLPA in an amount to be proved at trial,

        including the cost and expense of defending against the claims made in the Cook County

        Litigation, and in this proceeding.

   e.   Directing JPMCB to repurchase the Loan.

   f. Entering a judgment directing JPMCB to repurchase the Loan.

   g. Awarding such other and further relief as the Court deems necessary or appropriate.


DATED: July 25, 2024

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                  Attorney for Wells Fargo Bank, N.A., Not in Its Individual
                  Capacity, but solely in its Capacity as Trustee for the Benefit of
                  Holders of J.P. Morgan Chase Commercial Mortgage
                  Securities Trust 2018-PHH, Commercial Mortgage Pass-
                  Through Certificates, Series 2018-PHH, acting by and through
                  Situs Holdings, LLC, as special servicer under the Trust and
                  Servicing Agreement, dated August 7, 2018



                  By:_ /s/ Frederick L. Whitmer
                        FREDERICK L. WHITMER (FW-8888)
                        A Member of the Firm




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